Case 5:24-cv-12647-JEL-KGA ECF No. 33, PageID.722 Filed 11/07/24 Page 1 of 3




               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION


Derrick Lee Cardello-Smith,

                        Plaintiff,      Case No. 24-12647

v.                                      Judith E. Levy
                                        United States District Judge
Sean Combs,
                                        Mag. Judge Kimberly G. Altman
                        Defendant.

________________________________/

  ORDER GRANTING IN PART PLAINTIFF’S MOTION FOR
EXTENSION OF TIME TO FILE RESPONSE AS TO MOTION TO
                    DISMISS [16]

     Before the Court is pro se Plaintiff Derrick Lee Cardello-Smith’s

motion to extend time. (ECF No. 16.) On or about June 10, 2024, Plaintiff

filed this action against Defendant Sean Combs in the Lenawee County

Circuit Court. (See ECF No. 1, PageID.10–14.) On October 7, 2024,

Defendant removed the case to this Court. (Id. at PageID.1–5.) Defendant

then filed a motion to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(5) and (6). (ECF No. 2.) On November 4, 2024, this Court issued a

Notice of Determination of Motion Without Oral Argument. (ECF No. 24.)
Case 5:24-cv-12647-JEL-KGA ECF No. 33, PageID.723 Filed 11/07/24 Page 2 of 3




     On October 22, 2024, Plaintiff filed the “Motion for Extension

and/or Enlargement of Time to Respond Directly to the Defendants

Motion to Dismiss Served Upon Plaintiff on October 17, 2024.” (ECF No.

16.) On November 5, 2024, Defendant filed a response opposing Plaintiff’s

motion for an extension. (ECF No. 30.) Plaintiff seeks a ninety-day

extension to file a response. (ECF No. 16, PageID.646.) Plaintiff’s motion

for an extension of time for his response to Defendant’s motion to dismiss

is GRANTED IN PART. The deadline for Plaintiff to file a response to

Defendant’s motion to dismiss is December 3, 2024.

     IT IS SO ORDERED.

Dated: November 7, 2024                  s/Judith E. Levy
Ann Arbor, Michigan                      JUDITH E. LEVY
                                         United States District Judge




                                     2
Case 5:24-cv-12647-JEL-KGA ECF No. 33, PageID.724 Filed 11/07/24 Page 3 of 3




                    CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 7, 2024.
                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




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